       Case 4:09-cr-00043-SPF Document 54-4 Filed in USDC ND/OK on 05/15/09 Page 1 of 2


                                                         Version K                                                              4
TLS, have you             I.R.S. SPECIFICATIONS                          TO BE REMOVED BEFORE PRINTING
transmitted all R                                                                                                                      Action                           Date        Signature
text files for this       INSTRUCTIONS TO PRINTERS
cycle update?             FORM 1040, PAGE 1 of 2
                          MARGINS: TOP 13 mm (1⁄2”), CENTER SIDES.    PRINTS: HEAD to HEAD                                             O.K. to print
                          PAPER: WHITE WRITING, SUB. 20.     INK: BLACK
                          FLAT SIZE: 203 mm (8”)  279 mm (11”)
        Date              PERFORATE: (NONE)                                                                                            Revised proofs
                          DO NOT PRINT — DO NOT PRINT — DO NOT PRINT — DO NOT PRINT                                                    requested


                          Separation 1 of 2: Black




       1040 U.S. Individual Income Tax Return 2004
                      Department of the Treasury—Internal Revenue Service
Form




                                                                                                                         (99)       IRS Use Only—Do not write or staple in this space.
                          For the year Jan. 1–Dec. 31, 2004, or other tax year beginning                  , 2004, ending                    , 20               OMB No. 1545-0074
Label                     Your first name and initial                              Last name                                                               Your social security number
(See              L
                  A
instructions      B       If a joint return, spouse’s first name and initial       Last name                                                               Spouse’s social security number
on page 16.)      E
                  L
Use the IRS
label.            H
                          Home address (number and street). If you have a P.O. box, see page 16.                                     Apt. no.
                                                                                                                                                           䊱 Important! 䊱
Otherwise,        E
please print      R                                                                                                                                                 You must enter
                  E       City, town or post office, state, and ZIP code. If you have a foreign address, see page 16.
or type.                                                                                                                                                            your SSN(s) above.
Presidential
                      䊳
                                                                                                                                                                You                 Spouse
Election Campaign              Note. Checking “Yes” will not change your tax or reduce your refund.
(See page 16.)                 Do you, or your spouse if filing a joint return, want $3 to go to this fund?                                         䊳           Yes          No       Yes      No
                       1         Single                                                                        4         Head of household (with qualifying person). (See page 17.) If
Filing Status          2         Married filing jointly (even if only one had income)                                    the qualifying person is a child but not your dependent, enter
Check only             3         Married filing separately. Enter spouse’s SSN above                                     this child’s name here. 䊳
one box.                         and full name here. 䊳                                                         5         Qualifying widow(er) with dependent child (see page 17)

                                                                                                                                                                    
                                                                                                                                                                         Boxes checked
                       6a    Yourself. If someone can claim you as a dependent, do not check box 6a                                                                      on 6a and 6b
Exemptions              b    Spouse                                                                                                                                      No. of children
                                                                                       (3) Dependent’s (4) if qualifying                                                 on 6c who:
                        c Dependents:                                (2) Dependent’s
                                                                                                                          relationship to     child for child tax        ● lived with you
                               (1) First name             Last name                        social security number
                                                                                                                                you          credit (see page 18)        ● did not live with
                                                                                                                                                                         you due to divorce
                                                                                                                                                                         or separation
If more than four                                                                                                                                                        (see page 18)
dependents, see                                                                                                                                                          Dependents on 6c
page 18.                                                                                                                                                                 not entered above
                                                                                                                                                                         Add numbers on
                           d Total number of exemptions claimed                                                                                                          lines above 䊳

                       7  Wages, salaries, tips, etc. Attach Form(s) W-2                                                                                       7
Income                 8a Taxable interest. Attach Schedule B if required                                                                                     8a
Attach Form(s)          b Tax-exempt interest. Do not include on line 8a                                            8b
W-2 here. Also         9a Ordinary dividends. Attach Schedule B if required                                                                                   9a
attach Forms                                                                                                        9b
                           b Qualified dividends (see page 20)
W-2G and
1099-R if tax         10       Taxable refunds, credits, or offsets of state and local income taxes (see page 20)                                             10
was withheld.         11       Alimony received                                                                                                               11
                      12       Business income or (loss). Attach Schedule C or C-EZ                                                                           12
                      13       Capital gain or (loss). Attach Schedule D if required. If not required, check here 䊳                                           13
If you did not        14       Other gains or (losses). Attach Form 4797                                                                                      14
get a W-2,            15a      IRA distributions           15a                                               b Taxable amount (see page 22)                  15b
see page 19.
                      16a      Pensions and annuities             16a                                        b Taxable amount (see page 22)                  16b
Enclose, but do       17       Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E                                    17
not attach, any       18       Farm income or (loss). Attach Schedule F                                                                                       18
payment. Also,                                                                                                                                                19
please use            19       Unemployment compensation
Form 1040-V.          20a      Social security benefits 20a                                                  b Taxable amount (see page 24)                  20b
                      21       Other income. List type and amount (see page 24)                                                                               21
                      22       Add the amounts in the far right column for lines 7 through 21. This is your total income 䊳                                    22
                      23       Educator expenses (see page 26)                                                      23
Adjusted              24       Certain business expenses of reservists, performing artists, and
Gross                          fee-basis government officials. Attach Form 2106 or 2106-EZ                          24
Income                25       IRA deduction (see page 26)                                                          25
                      26       Student loan interest deduction (see page 28)                                        26
                      27       Tuition and fees deduction (see page 29)                                             27
                      28       Health savings account deduction. Attach Form 8889                                   28
                      29       Moving expenses. Attach Form 3903                                                    29
                      30       One-half of self-employment tax. Attach Schedule SE                                  30
                      31       Self-employed health insurance deduction (see page 30)                               31
                      32       Self-employed SEP, SIMPLE, and qualified plans                                       32
                      33       Penalty on early withdrawal of savings                                               33
                      34a      Alimony paid b Recipient’s SSN 䊳                             34a
                      35       Add lines 23 through 34a                                                                                                       35
                      36       Subtract line 35 from line 22. This is your adjusted gross income                                                     䊳        36
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see page 75.                                                       Cat. No. 11320B                            Form 1040 (2004)
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Form 1040 (2004)                                                                                                                                                            Page 2

                     37      Amount from line 36 (adjusted gross income)                                                                           37
Tax and
Credits            38a       Check
                             if:             You were born before January 2, 1940,
                                              Spouse was born before January 2, 1940,                            
                                                                                                           Blind. Total boxes
                                                                                                           Blind. checked 䊳 38a
Standard                  b If your spouse itemizes on a separate return or you were a dual-status alien, see page 31 and check here 䊳 38b
Deduction          39        Itemized deductions (from Schedule A) or your standard deduction (see left margin)                                    39
for—
                     40      Subtract line 39 from line 37                                                                                         40
● People who
checked any          41      If line 37 is $107,025 or less, multiply $3,100 by the total number of exemptions claimed on
box on line                  line 6d. If line 37 is over $107,025, see the worksheet on page 33                                                    41
38a or 38b or
who can be           42      Taxable income. Subtract line 41 from line 40. If line 41 is more than line 40, enter -0-                             42
claimed as a                                                                                                                                       43
dependent,           43      Tax (see page 33). Check if any tax is from: a         Form(s) 8814            b         Form 4972
see page 31.         44      Alternative minimum tax (see page 35). Attach Form 6251                                                               44
● All others:        45      Add lines 43 and 44                                                                                              䊳    45
Single or          46        Foreign tax credit. Attach Form 1116 if required                                   46
Married filing       47      Credit for child and dependent care expenses. Attach Form 2441                     47
separately,
$4,850               48      Credit for the elderly or the disabled. Attach Schedule R                          48
Married filing       49      Education credits. Attach Form 8863                                                49
jointly or           50      Retirement savings contributions credit. Attach Form 8880                          50
Qualifying
widow(er),           51      Child tax credit (see page 37)                                                     51
$9,700               52                                                                                         52
                             Adoption credit. Attach Form 8839
Head of              53      Credits from:   a    Form 8396          b     Form 8859              53
household,
$7,150               54      Other credits. Check applicable box(es):      a     Form 3800
                             b      Form 8801     c      Specify                                  54
                     55      Add lines 46 through 54. These are your total credits                                                                 55
                     56      Subtract line 55 from line 45. If line 55 is more than line 45, enter -0-                                        䊳    56
                     57       Self-employment tax. Attach Schedule SE                                                                              57
Other                                                                                                                                              58
                     58       Social security and Medicare tax on tip income not reported to employer. Attach Form 4137
Taxes                                                                                                                                              59
                     59       Additional tax on IRAs, other qualified retirement plans, etc. Attach Form 5329 if required
                     60       Advance earned income credit payments from Form(s) W-2                                                               60
                     61       Household employment taxes. Attach Schedule H                                                                        61
                     62       Add lines 56 through 61. This is your total tax                                                                 䊳    62
                                                                                                                63
Payments             63       Federal income tax withheld from Forms W-2 and 1099
                     64       2004 estimated tax payments and amount applied from 2003 return                   64
If you have a 65a             Earned income credit (EIC)                                                        65a
qualifying
child, attach
                 b            Nontaxable combat pay election 䊳 65b
Schedule EIC. 66              Excess social security and tier 1 RRTA tax withheld (see page 54)                 66
                     67       Additional child tax credit. Attach Form 8812                                     67
                     68      Amount paid with request for extension to file (see page 54)    68
                     69      Other payments from: a Form 2439 b  Form 4136 c    Form 8885    69
                     70      Add lines 63, 64, 65a, and 66 through 69. These are your total payments                                          䊳    70
                     71      If line 70 is more than line 62, subtract line 62 from line 70. This is the amount you overpaid                       71
Refund
                     72a     Amount of line 71 you want refunded to you                                                   䊳                       72a
Direct deposit?
See page 54 䊳         b      Routing number                                                        䊳 c Type:          Checking        Savings
and fill in 72b, 䊳    d      Account number
72c, and 72d.
                   73        Amount of line 71 you want applied to your 2005 estimated tax 䊳 73
Amount             74        Amount you owe. Subtract line 70 from line 62. For details on how to pay, see page 55 䊳                               74
You Owe            75        Estimated tax penalty (see page 55)                             75
                      Do you want to allow another person to discuss this return with the IRS (see page 56)?                              Yes. Complete the following.          No
Third Party
                      Designee’s                                                  Phone                                          Personal identification
Designee              name     䊳                                                  no.   䊳      (       )                         number (PIN)            䊳
                      Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and
Sign                  belief, they are true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here

                 䊳
                      Your signature                                                Date              Your occupation                              Daytime phone number
Joint return?
See page 17.                                                                                                                                       (         )
Keep a copy           Spouse’s signature. If a joint return, both must sign.        Date              Spouse’s occupation
for your
records.

Paid                  Preparer’s
                      signature      䊳                                                               Date
                                                                                                                              Check if
                                                                                                                              self-employed
                                                                                                                                                   Preparer’s SSN or PTIN

Preparer’s
Use Only
                      Firm’s name (or
                      yours if self-employed),
                      address, and ZIP code
                                                  䊳                                                                                 EIN
                                                                                                                                    Phone no.      (         )
                                                                                                                                                                 Form 1040 (2004)
